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                     EXHIBIT 22
To:                Michael    Graham[MGraham@capitalagroup.com]
From:
                              Case 3:18-cv-01023-MPS Document                                                    352-14 Filed 09/30/21 Page 2 of 6
                   Casey    Swercheck[Casey@capitalagroup.com]
Sent:              Tue 5/10/2016 11:13:39 AM (UTC-04:00)
Subject:           RE: Call tomorrow


 It’s allfairly standard and our biggest push backs were on the length / amount                                         of
                                                                                    retainer (which all nets against success fee) and
 carveout amount    for existing investors. We carved out $125mm for max amount from existings and will share anything above that
  (including from that group); in reality I’m not worried about                                      it
                                                                 as don’t have a lot of conviction in our carveout list amounting to
                                                                                                             |



 $125mm anyway. so think this is all blue sea / opportunity for Nova. These guys will represent three other funds this year, so they
                                           |



 can’t afford to eff this up, which is good alignment haha


 Casey Swercheck
  Capitala       Group
                              |     Vice President


 500    E   Broward Blvd             |
                                          Ste 1710             |
                                                                   Fort Lauderdale,   FL 33301

 p    954 848 2860            |
                                   m 215 796 8410



 Capitala
  From:      Michael Graham
 Sent: Tuesday, May 10, 2016 11:08 AM
 To: Casey         Swercheck              <Casey@capitalagroup.com>
 Subject:         Re: Call          tomorrow


 We   really        ran this term sheet to ground


 Michael           Graham

    mgraham@capitalagroup.com
 Office:  704.936.4932
 Cell:       205.913.0037
 On May 10, 2016, at 11:07                                         AM, Casey Swercheck <Casey@capitalagroup.com> wrote:

             Weird, hadn’t noticed that as stopped at the carveout
                          |                                                 |                             list onmy phone. Obviously an error on their part as question
             list makes no sense as appendix to a term sheet. However,                                      interesting that the best deerpath deals are a 1.6x and
             those guys have raised $700mm


             Casey Swercheck
             Capitala             Group
                                               |        Vice President


             500    E   Broward Blvd                     |
                                                             Ste 1710   |
                                                                            Fort Lauderdale,   FL 33301

             p   954 848 2860                  |
                                                       m 215 796 8410

                 <image003.png>                         <image004.png>            <image005.png>


             From:       Michael Graham
             Sent: Tuesday, May 10, 2016 10:34 AM
             To: Casey Swercheck <Casey@capitalagroup.com>
             Subject: RE: Call tomorrow


             Look       at the end of the pdf. Seems to be targeted towards deerpath

             Michael          Graham               |
                                                       Vice President
             p   704 936 4932                  |
                                                   m 205 913 0037

                 www.CapitalaGroup.com                               <image004.png>       <image005.png>


             From: Casey Swercheck
             Sent: Tuesday, May 10, 2016 9:32 AM
             To:    Michael Graham <MGraham                                     @capitalagroup.com>
             Subject: Re: Call tomorrow




       CONFIDENTIAL                                                                                                                                            CAP_0029974
   Casey Swercheck
                Case 3:18-cv-01023-MPS                                                     Document 352-14 Filed 09/30/21 Page 3 of 6
   Vice President - Fort Lauderdale Office
   CapitalSouth Partners                         & Capitala Finance Group
     Casey(@capitalagroup.com
   (O)   954.848.2860
   (M)   215.796.8410
   On May 10, 2016, at 9:14                                AM, Michael Graham <MGraham@capitalagroup.com> wrote:

              Did   they attach            a questions            for deerpath on the                end?


              Michael     Graham             |
                                                     Vice President
          p     704 936 4932           |
                                             m 205 913 0037
                www.CapitalaGroup.com                           <image007.png>              <image008.png>


              From:      Casey Swercheck
          Sent: Monday, May 9, 2016 1:58 PM
          To:       Michael Graham <MGraham                                        @capitalagroup.com>
              Subject: FW: Call tomorrow


          lol


              Casey Swercheck
              Capitala     Group
                                       |             Vice President


              500   E   Broward Blvd                  |
                                                          Ste 1710       |
                                                                             Fort Lauderdale,   FL 33301

          p     954 848 2860           |
                                                 m 215 796 8410

               <image009.png>                        <image007.png>                 <image008.png>


              From:     Joe   Alala

          Sent: Monday, May 09, 2016 1:56 PM
          To: Lynne Girts      <LGirts@capitalagroup.com>; Casey Swercheck <Casey@capitalagroup.com>; Richard
              Wheelahan    <rwheelahan@capitalsouthpartners.com>; Jack McGlinn       <JMcGlinn@capitalagroup.com>;
              Steve Arnall <sarnall@capitalagroup.com>; Chris Norton      <CNorton@capitalagroup.com>
              Ce: Hunt Broyhill (Broyhill Asset) <Hunt@broyhillasset.com>
              Subject: FW: Call tomorrow


          We        just      got a lot more poor
                                                                                   —
                                                                                       lets go raise a big ass Fund      V

              Joseph    B. Alala       Ill       |
                                                      Chairman       -
                                                                             CEO

          p     704 376 5502 ext. 24                       |   CapitalaGroup.com
               <image010.png>                        <image011.png>                 <image008.png>



              From:     Bryan         D. Kelley                 [mailto:bk@novafundadvisors.com]
              Sent: Monday, May 09, 2016 1:52                                       PM

          To: Joe Alala III; Casey Swercheck
          Cc: James Howe; Mark McAndrews; Kallie                                             Hapgood
          Subject: RE: Call tomorrow

          Joe,         attached       is   the executed term sheet!

          |    have copied Mark McAndrews who                                       will   provide wire instructions for future payments.

              Kind regards,           Bryan




              Bryan D.        Kelley
              NovaFund Advisors

               <image012.jpg>

CONFIDENTIAL                                                                                                                                CAP_0029975
                      Case 3:18-cv-01023-MPS Document 352-14 Filed 09/30/21 Page 4 of 6
         Tel. 203-831-0111 Ext. 210
         Cell     917-412-7972
             bk@novafundadvisors.com
             www.novafundadvisors.com



         From: Joe       Alala III                 [mailto:JAlala@capitalagroup.com]
         Sent: Monday, May 09, 2016 9:11                                        AM
         To: Bryan D. Kelley; Casey Swercheck
         Subject: RE: Call tomorrow


         Please send             me         contract                  and       I will   have a check from CPA            be   sent to   you

         Joseph   B. Alala       Ill    |
                                            Chairman         -
                                                                     CEO

         p   704 376 5502 ext. 24              |         CapitalaGroup.com
             <image010.png>                 <image011.png>                      <image008.png>



         From:        D. Kelley
                  Bryan          [mailto:bk@novafundadvisors.com]
         Sent: Monday, May 09, 2016 9:09 AM
         To: Casey Swercheck; Joe Alala III
         Subject: RE: Call tomorrow


         Tuesday at 2Pm                is   confirmed




         Bryan D.         Kelley
         NovaFund Advisors

             <image013.jpg>

         Tel. 203-831-0111 Ext. 210
         Cell     917-412-7972
             bk@novafundadvisors.com
             www.novafundadvisors.com



         From:        Casey Swercheck                       [mailto:Casey@capitalagroup.com]
         Sent: Monday, May 09, 2016 9:08                                        AM
         To: Joe Alala III; Bryan D. Kelley
         Subject: Re: Call tomorrow


         Bryan 2 pm tomorrow                             work        for        you?


         Casey         Swercheck
         Vice President - Fort Lauderdale Office
         CapitalSouth Partners                       & Capitala Finance Group
              Casey(@capitalagroup.com
         (O)      954.848.2860
         (M)      215.796.8410
         On     May   9, 2016, at 9:05 AM, Joe Alala III <JAlala@capitalagroup.com> wrote:
                   We     should              do around 1130 the call                             —
                                                                                                      but   I   may have a lunch downtown.
                   Lets do this in afternoon say 2pm or                                               so


                      Joseph   B. Alala        Ill   |
                                                          Chairman          -
                                                                                 CEO

                   p    704 376 5502 ext. 24                     |    CapitalaGroup.com
                       <image001.png>                    <image002.png>                  <image003.png>


CONFIDENTIAL                                                                                                                                   CAP_0029976
               Case 3:18-cv-01023-MPS Document 352-14 Filed 09/30/21 Page 5 of 6
               From:       Casey       Swercheck
               Sent: Monday, May 09, 2016 9:02                      AM
               To: Bryan       D.  Joe Alala
                                    Kelley;                 III
               Subject: Re: Call tomorrow

               Joe what's       your best          guess?


               Casey        Swercheck
               Vice President - Fort Lauderdale Office
               CapitalSouth Partners                & Capitala Finance Group
                 Casey(@capitalagroup.com
               (O)    954.848.2860
               (M)     215.796.8410
               On    May   9, 2016, at 9:01            AM, Bryan         D. Kelley    <bk@novafundadvisors.com> wrote:

                       OK,     thanks. What time do you think your                  earnings   call   will end tomorrow
                           morning?




                           Bryan D.       Kelley
                           NovaFund Advisors

                           <image001.jpg>

                       Tel. 203-831-0111 Ext. 210
                        Cell        917-412-7972
                           bk@novafundadvisors.com
                           www.novafundadvisors.com



                           From:      Casey Swercheck              [mailto:Casey@capitalagroup.com]
                       Sent: Monday, May 09, 2016 6:48                     AM
                       To: Bryan D. Kelley
                       Subject: Re: Call tomorrow


                       Bryan just a separate note on our standing calls on Mondays, 10 am for
                       pipeline discussion and 2 pm for more in depth deal discussion. In case
                       you guys have interest in ever joining to listen in I'll get you dial in info


                           Casey       Swercheck
                       Vice President - Fort Lauderdale Office
                           CapitalSouth Partners            & Capitala Finance Group
                            Casey(@capitalagroup.com
                       (O)          954.848.2860
                       (M)          215.796.8410
                       On      May    9, 2016, at 6:26 AM, Bryan D. Kelley
                            <bk@novafundadvisors.com>                    wrote:

                                     We   have     a morning meeting in the city.              2pm would be     the
                                      earliest   we could     do   it.
                                     Bryan Kelley
                                     NovaFund Advisors
                                     (917)       412-7972
                                     Sent    from my iPhone
                                     On   May    8, 2016, at 9:53        PM, Casey         Swercheck

                                       <Casey@capitalagroup.com>                  wrote:

CONFIDENTIAL                                                                                                              CAP_0029977
                              We have
               Case 3:18-cv-01023-MPS      a
                                      standing internal fundraising call
                                        Document    352-14 Filed 09/30/21 Page 6 of 6
                              after our      IC pipeline discussion. That
                              Pipeline call starts at 10           AM   and   we usually
                              wrap by about 1030. Would that work for you
                              all?



                              Casey        Swercheck
                              Vice President - Fort Lauderdale Office
                              CapitalSouth Partners              & Capitala       Finance

                              Group
                                 Casey(@capitalagroup.com
                              (O)     954.848.2860
                              (M)     215.796.8410
                              On     May   8, 2016, at 9:37 PM, Bryan D. Kelley
                               <bk@novafundadvisors.com>                     wrote:


                                       Yes,    will have to be late afternoon.
                                       What    times would work for you?

                                       Bryan Kelley
                                       NovaFund Advisors
                                       (917) 412-7972
                                       Sent        from my iPhone
                                       On     May   8, 2016, at 8:32 PM,
                                           Casey    Swercheck

                                        <Casey@capitalagroup.com>
                                       wrote:


                                                   Bryan do   we   have       a
                                                   call tomorrow   to talk
                                                   about kicking things
                                                   off? Let me know
                                                   what you think


                                                    Casey   Swercheck
                                                   Vice President - Fort
                                                    Lauderdale     Office
                                                    CapitalSouth     Partners
                                                   & Capitala      Finance

                                                    Group
                                                     Casey@capitalagroup.
                                                   com

                                                   (O)   954.848.2860
                                                   (M) 215.796.8410




CONFIDENTIAL                                                                                CAP_0029978
